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 1                                                                               E-Filed: 09-11-14

 2
                                    UNITED STATES BANKRUPTCY COURT
 3                                         DISTRICT OF NEVADA
 4                                            RENO, NEVADA

 5   In re:                                                    )          Case No. 14-50331-btb
                                                               )          Chapter 7
 6   AT EMERALD, LLC,                                          )
                                                               )
 7                                                             )
                 Debtor.                                       )
 8
                            APPOINTMENT OF INTERIM TRUSTEE AND TRUSTEE
 9
                                 AND DESIGNATION OF REQUIRED BOND
10
                                  JERI COPPA-KNUDSON of RENO, NEVADA
11
     is hereby appointed Interim Trustee for the estate(s) of the above named debtor(s). Unless a Trustee is
12
     elected at the meeting of creditors to be called pursuant to §341 of Title 11, United States Code, in the
13
     above referenced case, the Interim Trustee shall serve as Trustee.
14
15            In order to perform the duties of trustee pursuant to 11 U.S.C. § 704(a), Trustee Jeri Coppa-

16   Knudson is authorized to collect and reduce to money all property of the estate, both real and personal,

17   and to have full and unconditional access to and control of any and all commercial or personal accounts

18   and documents established by, maintained by or funded by the Debtor, including without limitation,
19   freezing accounts, wiring funds to estate’s federal depository, maintaining and transacting business with
20
     the existing accounts, changing the mailing addresses, and obtaining past account and document histories.
21
              This case is covered by the blanket bond for Chapter 7 case Trustees, the original of which is on
22
     file with the Court.
23
                                                               Tracy Hope Davis
24                                                             United States Trustee
                                                               for Region 17
25
26
     Dated: September 11, 2014                                 by: /s/ Nicholas Strozza
27                                                             NICHOLAS STROZZA
                                                               Assistant United States Trustee
28
